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                         UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION

JASON NEMES, et. al.                         :      Case No. 3:20-CV-407-CRS

v.                                           :

CARL BENSINGER, et. al.                      :

         REVISED AGREED ORDER OF DISMISSAL WITHOUT PREJUDICE

       Plaintiffs, by and through Counsel, as well as Intervening Plaintiff Keisha Dorsey, and

Defendant, Andrew Beshear, in his official capacity as the Governor of the Commonwealth of

Kentucky (“Governor Beshear”), agree and stipulate to settle this matter as follows:

       1. In exchange for his dismissal without prejudice, under FRCP 41(a), Governor

           Beshear and the Plaintiffs agree that:

               a. Governor Beshear did not order any specific number of polling places or any

                  specific site for polling places for any Kentucky county for the June 23, 2020

                  Primary Election.

               b. Governor Beshear will abide by any final or appealable judgment in this

                  action, subject to any modification, reversal, or vacation of the judgment on

                  appeal; however, nothing in this Order of dismissal prevents Governor

                  Beshear from exercising his authority under the Kentucky Constitution,

                  Kentucky statute and Kentucky law related to elections.

               c. Governor Beshear previously issued Executive Order 2020-451 relating to the

                  activation of the Kentucky National Guard to assist with the 2020 Primary

                  and/or General Election and agrees to make the Kentucky National Guard

                  available for the purposes stated in Executive Order 2020-451.
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               d. The dismissal shall not be construed in any way as an admission or concession

                   by Governor Beshear that he is a proper party to the action.

               e. Governor Beshear reserves all rights, claims, and defenses that may be

                   available to him related to whether he is a proper party to this action and any

                   appeals arising from this action.

               f. The parties to this Order shall bear their own attorney’s fees and costs with

                   respect to each other and will not seek the same from the other.

               g. Nothing in this Order shall be deemed to affect or adjudicate the pending

                   claims against the remaining Defendants.

               h. Governor Beshear is hereby dismissed without prejudice under FRCP 41;

               i. The Court will retain jurisdiction to enforce this Agreed Order; and

               j. Governor Beshear shall not further participate in this matter.




IT IS SO ORDERED.




                      June 16, 2020

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Stipulated and Agreed:



/s/Christopher Wiest                          /s/Travis Mayo
Counsel for the Plaintiffs                    Chief Deputy General Counsel
and Intervening Plaintiff                             Office of the Governor
Keisha Dorsey
